                       Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 1 of 7
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1              6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                           MIDDLE DISTRICT OF ALABAMA

               81,7('67$7(62)$0(5,&$                                              JUDGMENT IN A CRIMINAL CASE
                                    v.
                            BRUCE KING                                               &DVH1XPEHU 2:12cr57-01-MHT
                                                                                     8601XPEHU 13966-002

                                                                                      Richard Franklin Matthews, Jr.
                                                                                     'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        One and Two of the Indictment on October 31, 2012
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                                        Offense Ended                           Count

 18 USC 371                          Conspiracy to Defraud the United States                                                    10/31/2010                            1

 26 USC 7206(2)                      Fraud and False Statements                                                                 10/31/2010                            2




     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7             RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V                                                    G LV   G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                          March 13, 2013
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW



                                                                           /s/ Myron H. Thompson
                                                                           Signature of Judge


                                                                          MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                           1DPHRI-XGJH7LWOHRI-XGJH


                                                                           March 18, 2013
                                                                           'DWH
                        Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 2 of 7
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1             6KHHW²,PSULVRQPHQW

                                                                                                                        Judgment Page: 2 of 7
     '()(1'$17 BRUCE KING
     &$6(180%(5 2:12cr57-01-MHT


                                                                    IMPRISONMENT

              7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
     WRWDOWHUPRI
      70 Months. Said term consists of 58 months as to count 1 and 12 months as to count 2, such terms to run consecutively.




         ✔
         G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
     The court recommends that the defendant be designated to a facility near Montgomery, AL.




         G 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO

         G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
             G DW                                          G DP      G SP        RQ

             G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
         ✔ 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
         G
             ✔ EHIRUHRQ
             G         2:00 p.m.                            4/17/2013               

             G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
             G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                          RETURN
     ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




             'HIHQGDQWGHOLYHUHGRQ                                                              WR

     D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                            81,7('67$7(60$56+$/


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                                                                                                         '(387<81,7('67$7(60$56+$/
                              Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 3 of 7
AO 245B             (Rev. 09/11) Judgment in a Criminal Case
v1              6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                                                                Judgment Page: 3 of 7
                                                                                                                                                          
 '()(1'$17 BRUCE KING
 &$6(180%(5 2:12cr57-01-MHT
                                                                               SUPERVISED RELEASE
 8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI

 3 Years. This term consists of 3 years on Count 1 and 1 year on Count 2, all such terms to run concurrently.
         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
 FXVWRG\RIWKH%XUHDXRI3ULVRQV
 7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
 7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
              
 VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
 WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
          IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
 ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
 G
 ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
 G

 G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
   DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
          ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

 G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
         ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
 6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                         FRQGLWLRQV
                                                                                                                                            
 RQWKHDWWDFKHGSDJH

                                                       STANDARD CONDITIONS OF SUPERVISION
           WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
           WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
            DFFHSWDEOHUHDVRQV
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
           WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
            FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
           WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
           WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
            IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
            FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
          WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQLQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPQWDJHQF\ZLWKRXWWKH
            SHUPLVVLRQRIWKHFRXUWDQG

          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
            UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
            GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
                      Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 4 of 7
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
v1            6KHHW&²6XSHUYLVHG5HOHDVH

                                                                                                        Judgment Page: 4 of 7
 '()(1'$17 BRUCE KING
 &$6(180%(5 2:12cr57-01-MHT

                                            SPECIAL CONDITIONS OF SUPERVISION


     1. The defendant shall provide the probation officer any requested financial information.

     2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment
     schedule.

     3. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy
     of this court.

     4. The defendant submit to a search of his computer, to include passive (for example, monitoring software) and
     active (for example, looking at files on local drive) searches.
                      Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 5 of 7
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1           6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV

                                                                                                                   Judgment Page: 5 of 7
 '()(1'$17 BRUCE KING
 &$6(180%(5 2:12cr57-01-MHT
                                                  CRIMINAL MONETARY PENALTIES
        7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                         Assessment                                         Fine                                    Restitution
 TOTALS              $ 200.00                                           $                                     $ $781,305.98


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgment in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
        DIWHUVXFKGHWHUPLQDWLRQ

 ✔ 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
 G
        ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
        WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
        EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                      Total Loss*                Restitution Ordered           Priority or Percentage
     IRS-RACS Attn: Mail Stop 6261, Restitution                                                          $781,305.98
     333 West Pershing Avenue
     Kansas City, Missouri 64108




                                                                               




TOTALS                                                                                 $0.00             $781,305.98


G       5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G       7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
        ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
        WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

✔ 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
G
        ✔ WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH
        G                                                      G ILQH       ✔ UHVWLWXWLRQ
                                                                            G
        G WKHLQWHUHVWUHTXLUHPHQWIRUWKH           G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRU
                                                                                                                 RIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
                      Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 6 of 7
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
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 '()(1'$17 BRUCE KING
 &$6(180%(5 2:12cr57-01-MHT

                                                         SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

 A    ✔ /XPSVXPSD\PHQWRI 781,505.98
      G                                                          GXHLPPHGLDWHO\EDODQFHGXH

           G QRWODWHUWKDQ                                           RU
           ✔ LQDFFRUGDQFH
           G                              G &       G '        G      (RU     ✔ )EHORZRU
                                                                                  G
 B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &       G 'RU       G )EHORZ RU
 C    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

 E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at
            the rate of not less than $500 per month.



 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
 LPSULVRQPHQW$OOFULPQDOP RQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQF LDO
 5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 ✔ -RLQWDQG6HYHUDO
 G
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
       Bruce King, 2:12cr57-01-MHT, $781,305.98 total amount, $781,305.98 joint and several amount - IRS
       Jenika Williams, 2:12cr57-02-MHT, $781,305.98 total amount, $781,305.98 joint and several amount - IRS
       Antoinette Djonret, 2:12cr57-03-MHT, $4,716 - total amount, $4,716 -joint and several amount - IRS
       Nakesha Donaldson, 2:12cr57-04-MHT, $781,305.98 total amount, $781,305.98 joint and several amount - IRS
 G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
 G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
 G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV



 3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
   ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
                    Case 2:12-cr-00057-MHT-WC Document 294 Filed 03/18/13 Page 7 of 7
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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'()(1'$17 BRUCE KING
&$6(180%(5 2:12cr57-01-MHT

         ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL
Case Number
Defendant and Co-Defendant Names                                         Joint and Several             Corresponding Payee,
(including defendant number)                            Total Amount           Amount                      if appropriate

     Vonecia Orum, 2:12cr57-06-MHT                                                           IRS
                                                             $3,145.00          $3,145.00




     Tonja Renee Toney, 2:11cr118-01-WHA                                                     IRS
                                                             $2,956.00          $2,956.00


     Kimberly Denise Womack,                                                                 IRS
     2:11cr149-01-WHA                                        $5,172.00          $5,172.00
